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                             Exhibit 8




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1                 UNITED STATES DISTRICT COURT
2               CENTRAL DISTRICT OF CALIFORNIA
3                        WESTERN DIVISION
4    _________________________________
                                      )
5    YUGA LABS, INC.,                 )CASE NO.:
                                      )
6                      Plaintiff,     )22-cv-04355-
                                      )JFW-JEM
7              v.                     )
                                      )
8    RYDER RIPPS, JEREMY CAHEN, DOES )
     1-10,                            )
9                                     )
                       Defendants.    )
10                                    )
     _________________________________)
11
12
13        ** THIS TRANSCRIPT IS MARKED CONFIDENTIAL -
14                    ATTORNEYS' EYES ONLY **
15
16
17                   DEPOSITION OF GREG SOLANO
18                           VOLUME I
19                    LOS ANGELES, CALIFORNIA
20                  TUESDAY, JANUARY 17, 2023
21
22
23
24   REPORTED BY:      NATALIE PARVIZI-AZAD, CSR, RPR, RSR
                       CSR NO. 14125
25   JOB NO.:          477897




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1    instructions on that?                                                10:52:35
2            A.   I'm not going to name the person, but I                 10:52:36
3    can answer other questions in regards to this.                       10:52:38
4            Q.   Great.   Is the person that is the                      10:52:39
5    designer -- so let me think of a decent way to talk                  10:52:41
6    about this person, and, again, we reserve our rights                 10:52:46
7    to be able to come back and continue this                            10:52:49
8    deposition --                                                        10:52:52
9            A.   The only information I'm not going to                   10:52:52
10   provide you is the name because your clients                         10:52:54
11   harassed myself, my family, and any person's name                    10:52:57
12   that they can get their hands on.      And so, if the                10:53:00
13   Judge decides that we need to give you the name,                     10:53:03
14   we'll give you the name.      We're not coming back                  10:53:05
15   here.                                                                10:53:07
16           Q.   That'll be up to the Judge to decide.                   10:53:11
17                When did you engage this third-party                    10:53:14
18   designer?                                                            10:53:20
19           A.   In early 2021.                                          10:53:20
20           Q.   Can you be more specific than that, maybe               10:53:26
21   the month.                                                           10:53:31
22           A.   February, I believe.   February or March.               10:53:31
23           Q.   What did you instruct the third-party                   10:53:34
24   designer to do?                                                      10:53:36
25           A.   We asked the designer to create a logo                  10:53:37


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1    with several different versions of that logo, and we                 10:53:50
2    also had her create website designs.                                 10:53:58
3            Q.   What instructions did you provide the                   10:54:04
4    designer with regard to the logo?                                    10:54:15
5                 MR. BALL:    Objection.   Asked and answered.           10:54:19
6    Vague.                                                               10:54:26
7            A.   We asked for a logo for Bored Ape Yacht                 10:54:28
8    Club.                                                                10:54:37
9            Q.   Did you provide the designer any guidance               10:54:37
10   on the contents of that logo?                                        10:54:40
11           A.   Yes.    We gave some general inspiration and            10:54:42
12   a mood board.       I believe we have publically released            10:54:51
13   much of that.                                                        10:54:58
14           Q.   What do you mean by a "mood board"?                     10:54:58
15           A.   Inspiration images.                                     10:55:06
16           Q.   So you provided the designer with some                  10:55:08
17   inspiration images?                                                  10:55:10
18                MR. BALL:    Objection.   Vague.                        10:55:11
19                MR. TOMPROS:    Fair enough.   I'll withdraw.           10:55:12
20           Q.   You and Mr. Aronow provided the designer                10:55:14
21   with some inspiration images?                                        10:55:17
22                MR. BALL:    Same objection.   Vague.                   10:55:19
23           A.   We provided some images to the designer.                10:55:21
24           Q.   And what did the designer do -- strike                  10:55:26
25   that.                                                                10:55:30


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1                 Did you provide any other instructions in               10:55:30
2    addition to the images to the designer?                              10:55:31
3                 MR. BALL:    Objection.                                 10:55:34
4          A.     I'm sorry.    Can you restate the question.             10:55:40
5          Q.     Sure.    Did you provide any other                      10:55:42
6    instruction in addition to the images to the                         10:55:43
7    designer?                                                            10:55:45
8                 MR. BALL:    Objection.   Vague.                        10:55:46
9          A.     We sent e-mails with info about,                        10:55:46
10   generally, what we were looking for in the logo for                  10:56:02
11   this brand.                                                          10:56:07
12         Q.     Who sent the e-mails?                                   10:56:11
13         A.     One or both of us.    I don't recall.                   10:56:14
14         Q.     From what e-mail addresses?                             10:56:20
15         A.     My e-mail would have been the                           10:56:28
16                              e-mail address.      I don't              10:56:30
17   recall Wylie Aronow's e-mail address for these                       10:56:36
18   exchanges.                                                           10:56:38
19         Q.     Do you still have those e-mails?                        10:56:39
20         A.     Yes.                                                    10:56:41
21         Q.     Did the designer correspond back to you by              10:56:41
22   e-mail?                                                              10:56:45
23         A.     Yes.                                                    10:56:46
24         Q.     Do you still have those e-mails?                        10:56:46
25         A.     Yes.                                                    10:56:49


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1          Q.    And apart from e-mail, did you communicate               10:56:49
2    with the designer in any other way?                                  10:56:59
3          A.    We had a video call where she presented                  10:57:00
4    some designs.      I may have texted her as well.                    10:57:15
5          Q.    Was the video call recorded?                             10:57:22
6          A.    No.                                                      10:57:25
7          Q.    Would texts with her have come from the                  10:57:25
8    mobile number that you provided us with earlier?                     10:57:34
9          A.    Yes.                                                     10:57:36
10         Q.    Do you still have those texts?                           10:57:36
11         A.    I believe so.                                            10:57:38
12         Q.    And have you provided them to counsel?                   10:57:39
13         A.    Counsel has all my files.                                10:57:41
14         Q.    Was the designer a single individual or a                10:57:42
15   group of individuals?                                                10:57:47
16         A.    A single individual.                                     10:57:48
17         Q.    Was the designer a business entity?                      10:57:50
18               MR. BALL:    Objection.   Vague.    Calls for a          10:57:52
19   legal conclusion.                                                    10:57:54
20               MR. TOMPROS:    Fair enough.     I withdraw              10:57:57
21   that question.      I actually don't care.     Single                10:58:00
22   individual is all I -- I'm interested in.                            10:58:01
23         Q.    When you communicated with the designer,                 10:58:03
24   was it just one e-mail address that you used for the                 10:58:05
25   designer?                                                            10:58:07


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                           Transcript of Greg Solano
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1               MR. BALL:    Objection.    Vague.                         10:58:08
2          A.   I don't recall.                                           10:58:09
3          Q.   Okay.   How much was the designer paid?                   10:58:11
4          A.   I don't recall.                                           10:58:25
5          Q.   Following the -- strike that.                             10:58:25
6               In what currency was the designer paid?                   10:58:31
7               MR. BALL:    Objection.    Vague as to                    10:58:35
8    "currency."                                                          10:58:37
9          A.   U.S. dollars.                                             10:58:38
10         Q.   Was the designer paid in cryptocurrency                   10:58:50
11   or -- was the designer paid in cryptocurrency?                       10:58:55
12              MR. BALL:    Objection.    Asked and answered.            10:59:00
13         A.   They were paid in U.S. dollars.                           10:59:02
14              (Exhibit 202 marked.)                                     10:59:41
15              MR. BALL:    Are you marking this as 202?                 10:59:41
16              MR. TOMPROS:    Exactly.                                  10:59:44
17   BY MR. TOMPROS:                                                      10:59:45
18         Q.   Mr. Solano, you have in front of you what                 10:59:45
19   has been marked as Exhibit 202, a one-page document                  10:59:48
20   with an image.                                                       10:59:54
21              Do you have that?                                         10:59:56
22         A.   I have a document in front of me that says                10:59:57
23   "Exhibit 202," yes.                                                  10:59:59
24         Q.   What is that image?                                       11:00:00
25         A.   This looks like a low-res screenshot of                   11:00:02


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1    a -- of our Yuga Labs's Bored Ape Yacht Club logo.                   11:00:09
2    That said, I don't have every detail of it                           11:00:15
3    memorized, and I know that your clients like to mess                 11:00:20
4    with documents and images.       So I can't -- I don't               11:00:24
5    know if this is the genuine exact logo or if they've                 11:00:26
6    changed something.                                                   11:00:31
7          Q.     In what way, if any, does this logo look                11:00:31
8    different from what Yuga Labs claims as its                          11:00:53
9    trademark?                                                           11:00:57
10         A.     This looks like our logo.                               11:01:01
11         Q.     Was this logo created by the third-party                11:01:05
12   designer?                                                            11:01:12
13         A.     Yes.                                                    11:01:12
14         Q.     And which aspects of this logo were                     11:01:12
15   created by the third-party designer?                                 11:01:18
16                MR. BALL:    Objection.   Vague.                        11:01:20
17                MR. TOMPROS:    Fair enough.   Let me try               11:01:21
18   again.                                                               11:01:23
19         Q.     Did the third-party designer choose the                 11:01:23
20   words "Bored Ape Yacht Club"?                                        11:01:27
21                MR. BALL:    Objection.   Vague.                        11:01:28
22         A.     The words "Bored Ape Yacht Club" were                   11:01:31
23   provided to the designer.                                            11:01:34
24         Q.     Did the third-party designer choose                     11:01:35
25   "BAYC," those letters?                                               11:01:39


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1          A.    The letters "BAYC" were provided to the                  11:01:41
2    designer.                                                            11:01:46
3          Q.    And did the third-party designer choose                  11:01:46
4    the use of a skull?                                                  11:01:49
5          A.    I don't recall.                                          11:01:53
6                MR. BALL:     Objection.                                 11:01:56
7          Q.    Why was a skull chosen for the Bored Ape                 11:01:57
8    Yacht Club logo?                                                     11:02:12
9                MR. BALL:     Objection.   Vague.   Calls for            11:02:12
10   speculation.                                                         11:02:18
11         A.    I don't recall who was the first person to               11:02:18
12   think of a skull.       But this is called "Bored Ape                11:02:25
13   Yacht Club," and I remember early on we liked the                    11:02:32
14   idea that these apes are bored to death.                             11:02:35
15         Q.    At some point during the design of this                  11:02:49
16   logo in Exhibit 202, someone conducted a Google                      11:02:54
17   image search for the phrase "ape skull"; correct?                    11:02:57
18         A.    I don't recall.                                          11:03:00
19         Q.    Did you conduct a Google image search for                11:03:00
20   the phrase "ape skull" during the course of the                      11:03:10
21   creation of this logo?                                               11:03:11
22         A.    I don't recall.                                          11:03:13
23         Q.    Did you know how to use Google image                     11:03:13
24   search in early 2021?                                                11:03:16
25         A.    Yes, I know how to Google a word.                        11:03:18


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1          Q.      And you knew how to use the image search                11:03:21
2     functionality of Google at that time; right?                         11:03:24
3          A.      Yes.                                                    11:03:26
4          Q.      Do you have your Google search history for              11:03:26
5     early 2021?                                                          11:03:30
6          A.      I don't know.                                           11:03:33
7          Q.      This logo includes a white skull on a                   11:03:34
8     black background; correct?                                           11:04:04
9                  MR. BALL:    Objection.   Mischaracterizes              11:04:08
10    Exhibit 202.                                                         11:04:10
11         A.      There is an ape -- an illustration of an                11:04:18
12    ape skull on a black background.                                     11:04:20
13         Q.      Are black-and-white logos with skulls                   11:04:24
14    found in logos for groups such as boating clubs?                     11:04:31
15                 MR. BALL:    Objection.   Vague.   Calls for            11:04:35
16    speculation.                                                         11:04:37
17         A.      Black-and-white logos with skulls are                   11:04:42
18    found for every kind of brand on earth.         I've found           11:04:47
19    many that are coffee companies or water companies or                 11:04:54
20    otherwise.                                                           11:05:01
21         Q.      Can you identify a boating club with a                  11:05:02
22    black-and-white skull logo.                                          11:05:05
23                 MR. BALL:    Objection.   Vague.   Calls for            11:05:08
24    speculation.                                                         11:05:17
25         A.      Not offhand.                                            11:05:17


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1          Q.    Why is the outside border of the logo in                  11:05:18
2     Exhibit 202 not completely round but instead wavy?                   11:05:36
3                MR. BALL:    Objection.   Vague.     Lacks                11:05:42
4     foundation.                                                          11:05:45
5          A.    I don't recall the designer's specific                    11:05:49
6     reasoning for that choice.     I don't think we asked                11:05:53
7     her to do that.    However, anyone familiar with Bored               11:05:58
8     Ape Yacht Club will know that it's not exactly a                     11:06:04
9     refined yacht club:     It's in a swamp.      It's much              11:06:10
10    more like a dive bar, and it having a little bit of                  11:06:15
11    a jagged edge here makes sense with the overall                      11:06:18
12    esthetic of the club.                                                11:06:23
13         Q.    You characterize it as a -- as a jagged                   11:06:24
14    edge; is that right?                                                 11:06:31
15         A.    A little bit.    You know, I'm just trying                11:06:32
16    to describe what I'm seeing here.                                    11:06:35
17         Q.    Sure.   Fair to call it a tattered edge?                  11:06:37
18               MR. BALL:    Objection.   Mischaracterizes.               11:06:41
19               MR. TOMPROS:    I'm just trying to figure                 11:06:44
20    out what the words are.                                              11:06:47
21         Q.    So how would you describe it --                           11:06:48
22         A.    It's just not perfectly circular.                         11:06:48
23               (Exhibit 203 marked.)                                     11:07:59
24    BY MR. TOMPROS:                                                      11:07:59
25         Q.    Mr. Solano, you have been handed what has                 11:08:00


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1     been marked as Exhibit 203.      It is a 35-page                     11:08:03
2     document entitled "Yuga Labs, Inc.'s, First                          11:08:08
3     Supplemental Response to Ryder Ripps and Jeremy                      11:08:13
4     Cahen's First Set of Interrogatories, Numbers 1                      11:08:19
5     through 14."                                                         11:08:22
6                Do you have that document in front of you?                11:08:23
7          A.    Yes.                                                      11:08:27
8          Q.    Have you seen this set of Interrogatory                   11:08:27
9     Responses before?                                                    11:08:31
10         A.    I'm not sure.     Like I said, these                      11:08:33
11    documents look the same to me.                                       11:08:35
12         Q.    Fair enough.     I'll represent to you that               11:08:36
13    this was some answers to questions that Yuga Labs                    11:08:39
14    gave back to us, the lawyers.      For Mr. Ripps and                 11:08:41
15    Mr. Cahen sent questions and Yuga Labs provided some                 11:08:45
16    answers back, okay?                                                  11:08:49
17         A.    Okay.                                                     11:08:50
18         Q.    And you don't have to believe me, but I've                11:08:50
19    got some questions about some of the things that are                 11:08:52
20    in this document.                                                    11:08:54
21               Could I ask you to look at page 8 of                      11:08:55
22    Exhibit 203.      And if it helps to go back for context             11:09:01
23    and answer -- why don't I just explain to you the                    11:09:12
24    whole -- let's just go back all the way to page 6 so                 11:09:17
25    you can understand what's going on.                                  11:09:20


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1                 Page 6, line 6, we ask, "Describe in                     11:09:23
2     detail the facts and circumstances concerning the                    11:09:28
3     conception and creation of Yuga, its BAYC NFT                        11:09:31
4     collection, and the asserts marks."                                  11:09:39
5                 Do you see that question?                                11:09:41
6          A.     Yes.                                                     11:09:42
7          Q.     And then, there is a response, and I don't               11:09:42
8     want to go through the entirety of the response, but                 11:09:45
9     the part I want to focus on begins at the bottom of                  11:09:47
10    page 7.                                                              11:09:52
11                It says, "The ape skull logo and BAYC logo               11:09:55
12    drew inspiration from maritime club patches, punk                    11:09:59
13    rock designs, street wear, and skating culture.       The            11:10:07
14    design elements of a black-and-white logo with a                     11:10:11
15    skull in the center can be found for -- in various                   11:10:11
16    logos for groups such as motorcycle or boating                       11:10:16
17    clubs.    Yuga Labs shared their inspirations with a                 11:10:20
18    designer who provided Yuga Labs with different logo                  11:10:25
19    options."                                                            11:10:27
20                And then, there is on page 8 a set of                    11:10:27
21    logos or logo options.                                               11:10:31
22                Do you see that?                                         11:10:34
23         A.     Yes.                                                     11:10:35
24         Q.     Okay.    And I want to focus specifically on             11:10:36
25    that sentence, "Yuga Labs shared their inspiration                   11:10:39


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1     with a designer who provided Yuga Labs with                          11:10:44
2     different logo options."                                             11:10:47
3                Do you see that sentence?                                 11:10:49
4          A.    Yes.                                                      11:10:50
5          Q.    The designer referenced in that sentence,                 11:10:50
6     that's the same designer that we've been talking                     11:10:53
7     about; right?                                                        11:10:54
8          A.    Yes.                                                      11:10:55
9          Q.    And when it says "Yuga Labs shared their                  11:10:55
10    inspirations," the people at Yuga Labs that would                    11:10:57
11    have done that would have been you and Mr. Aronow;                   11:11:00
12    correct?                                                             11:11:02
13               MR. BALL:    Objection.                                   11:11:02
14               MR. TOMPROS:    Strike that.                              11:11:07
15         Q.    When it says "Yuga Labs shared their                      11:11:08
16    inspirations," the specific people at Yuga Labs who                  11:11:10
17    did that were you and Mr. Aronow; correct?                           11:11:12
18         A.    Yes.                                                      11:11:15
19         Q.    Is the way in which you shared your                       11:11:16
20    inspirations with the designer the -- what you have                  11:11:30
21    talked about already in this deposition?                             11:11:34
22               MR. BALL:    Objection.                                   11:11:36
23         A.    As I have mentioned previously, we sent                   11:11:38
24    e-mails with what we were looking for in the logo                    11:11:43
25    along with some inspiration images, and we also met                  11:11:49


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1     on Zoom to review her work.       I don't recall other               11:11:53
2     instances outside of that.                                           11:11:56
3          Q.      And then, there's a set of logos shown on               11:11:58
4     page 8.     Are those the only logo options that the                 11:12:02
5     designer provided?                                                   11:12:06
6          A.      I don't recall.                                         11:12:10
7          Q.      How would you find out?                                 11:12:11
8          A.      By looking through the e-mails.                         11:12:13
9          Q.      At the bottom of that same page, page 8,                11:12:16
10    it says, "The angle of the skull was inspired by a                   11:12:33
11    photograph of a real ape skull which came from a                     11:12:37
12    Google image search result for, quote, 'ape skull,'                  11:12:40
13    unquote."                                                            11:12:44
14                 Do you see that?                                        11:12:44
15         A.      Yes.                                                    11:12:45
16         Q.      You don't know whether you're the one who               11:12:49
17    conducted that Google image search; right?                           11:12:51
18         A.      I don't know.                                           11:12:54
19         Q.      Do you know whether Mr. Aronow conducted                11:12:55
20    that Google image search?                                            11:13:01
21         A.      I don't know.                                           11:13:02
22         Q.      Do you know whether the designer did it?                11:13:03
23         A.      I don't know.                                           11:13:05
24         Q.      All right.    Now, if you could turn to the             11:13:05
25    next page of the Interrogatory, there's a set of                     11:13:10


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1     that question.                                                       11:26:39
2          Q.     Do you make -- do you sometimes refer to                 11:26:40
3     Yuga Labs as just "Yuga"?                                            11:26:42
4          A.     In shorthand, yes, perhaps.                              11:26:43
5          Q.     So I'll represent to you that unless I say               11:26:47
6     otherwise or you say otherwise, throughout the                       11:26:50
7     deposition if I say "Yuga," I mean Yuga Labs.         If I           11:26:52
8     say "Yuga Labs," I mean Yuga.         I'm not intending to           11:26:56
9     mean anything different.                                             11:26:59
10                So let me ask the question again.                        11:27:00
11                The Bored Ape Yacht Club was the first NFT               11:27:03
12    collection that Yuga launched; correct?                              11:27:07
13                MR. BALL:    Objection.     Vague.                       11:27:11
14         A.     We launched test versions of the Bored Ape               11:27:12
15    NFT smart contract.      There may have been tests                   11:27:23
16    that -- yes.                                                         11:27:32
17         Q.     The Bored Ape Yacht Club NFTs are                        11:27:35
18    associated with 10,000 ape images; correct?                          11:27:39
19         A.     Yes.                                                     11:27:43
20         Q.     Is each of those 10,000 ape images unique?               11:27:48
21         A.     Yes.                                                     11:27:53
22         Q.     Are there any duplicates?                                11:27:54
23         A.     No.                                                      11:27:59
24         Q.     On what date was the Bored Ape Yacht Club                11:28:00
25    launched?                                                            11:28:02


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1                MR. BALL:    Objection.     Vague.                        11:28:08
2          A.    Are you referring to when we launched the                 11:28:11
3     smart contract?                                                      11:28:14
4          Q.    Did you refer internally to a launch of                   11:28:15
5     the Bored Ape Yacht Club?                                            11:28:20
6                MR. BALL:    Object- --                                   11:28:20
7          A.    There are --                                              11:28:24
8                MR. BALL:    Just -- objection.      Vague as to          11:28:24
9     "internally" or "refer."                                             11:28:27
10         A.    There's a date that the website went live.                11:28:30
11    There's a date that the smart contract was open to                   11:28:36
12    be minted from.     It was April.                                    11:28:38
13         Q.    What date do you consider to be the date                  11:28:41
14    on which the Bored Ape Yacht Club launched?                          11:28:51
15         A.    The date that comes to mind is April 23rd.                11:28:55
16         Q.    Of 2021; right?                                           11:28:59
17         A.    Yes.                                                      11:29:02
18         Q.    And what happened on April 23rd of 2021                   11:29:02
19    that you would consider the launch?                                  11:29:05
20         A.    That is -- if I'm recalling correctly,                    11:29:10
21    that is the first date when users were able to mint                  11:29:13
22    a NFT from the Bored Ape smart contract.                             11:29:18
23               MR. BALL:    If we're starting a new one,                 11:29:50
24    can -- I do need a bio break.                                        11:29:52
25               MR. TOMPROS:    Oh, sure.     Let's take a                11:29:53


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1     project.                                                              16:05:03
2          Q.    What other logo do you understand                          16:05:04
3     Mr. Ripps to have used in connection with what you                    16:05:08
4     call the scam NFT project?                                            16:05:11
5          A.    The logo on Exhibit 202.                                   16:05:14
6          Q.    Okay.                                                      16:05:18
7          A.    As well as Bored Ape Yacht Club, the BAYC                  16:05:24
8     word mark, the skull logo by itself, the BA - skull                   16:05:27
9     - YC logo as well.                                                    16:05:37
10         Q.    Does Exhibit 211, in your view, infringe                   16:05:40
11    your trademarks, Yuga's trademarks?                                   16:05:43
12               MR. BALL:      Objection.   Calls for a legal              16:05:47
13    conclusion.      Vague.                                               16:05:48
14         A.    I defer to my counsel on the legal                         16:05:49
15    specifics of what constitutes legal infringement.                     16:05:52
16         Q.    Was the Yuga Labs logo based on the Nazi                   16:05:55
17    SS Totenkopf?                                                         16:06:07
18         A.    No.                                                        16:06:09
19         Q.    Was it any part of the inspiration for the                 16:06:09
20    Yuga Labs logo?                                                       16:06:13
21         A.    No.                                                        16:06:14
22         Q.    Had you seen the Nazi SS Totenkopf prior                   16:06:14
23    to your work on the Yuga Labs logo?                                   16:06:24
24         A.    I had not seen the logo that your client                   16:06:35
25    tweets out all the time prior to our creation of                      16:06:37


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1     this logo on Exhibit 202.                                             16:06:42
2          Q.     I just want to make sure I've got the                     16:06:45
3     right thing.    So can we mark Tab 17.                                16:06:47
4                 And given that answer, I just want to make                16:07:03
5     sure I understand that we're talking about the same                   16:07:05
6     thing.    So could we mark that.                                      16:07:07
7                 (Exhibit 212 marked.)                                     16:07:10
8     BY MR. TOMPROS:                                                       16:07:25
9          Q.     Mr. Solano, you've been handed what has                   16:07:25
10    been marked as Exhibit 212, a one-page document with                  16:07:28
11    two logos: one on the left, one on the right.                         16:07:32
12                Do you have that in front of you?                         16:07:35
13                MR. BALL:   And I'll just object that                     16:07:37
14    the -- again, the one on the right appears to                         16:07:38
15    possibly have been cropped.                                           16:07:40
16                Not sure what these logos necessarily are,                16:07:43
17    what are you representing, what these logos are.                      16:07:46
18    I'm not sure where the origin of a document --                        16:07:49
19    whether you've created and put two logos next to                      16:07:51
20    each other.    Are you familiar with the logo on the                  16:07:54
21    right-hand side that you've created here,                             16:07:56
22    Mr. Tompros?                                                          16:07:58
23                MR. TOMPROS:   I'm just going to ask him                  16:07:59
24    about -- I'm not going to make any representations                    16:08:01
25    one way or the other about the origins.      I'll                     16:08:03


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1     just ask --                                                           16:08:06
2                  MR. BALL:    So you're not representing this             16:08:06
3     to be an authentic document in any way?                               16:08:08
4                  MR. TOMPROS:    I'm not making any                       16:08:11
5     representations at all.                                               16:08:13
6                  MR. BALL:    You're not representing                     16:08:14
7     anything about your familiarity with the SS?                          16:08:15
8                  MR. TOMPROS:    I am not.     I'm not making             16:08:17
9     any representations at all.                                           16:08:19
10    BY MR. TOMPROS:                                                       16:08:20
11            Q.   Mr. Solano, there is a logo on the right;                16:08:21
12    right?                                                                16:08:24
13            A.   Yes.                                                     16:08:24
14            Q.   Had you seen that logo prior -- strike                   16:08:24
15    that.                                                                 16:08:30
16                 When is the first time you saw that logo?                16:08:30
17                 MR. BALL:    Objection.     Vague.                       16:08:32
18            A.   The first time I saw the logo that looks                 16:08:35
19    like this one was when your client tweeted it out.                    16:08:40
20    I forget the date.                                                    16:08:47
21            Q.   And had -- have you seen any logo                        16:08:48
22    associated with the Nazis that includes a white                       16:08:54
23    skull on a black background prior to Mr. Ripps's                      16:08:57
24    tweets?                                                               16:09:02
25                 MR. BALL:    Objection.     Vague.                       16:09:02


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1     Argumentative.         Assumes facts not in evidence.                 16:09:05
2     Lacks foundation.                                                     16:09:07
3             A.     After becoming familiar, after seeing the              16:09:08
4     logo that your client tweeted out, I looked at the                    16:09:22
5     skull logo and may have seen a skull with crossbones                  16:09:30
6     that looks like this, but I had never seen the logo                   16:09:37
7     in front of me with this text with these, like,                       16:09:40
8     lightening bolts on the sides or anything else like                   16:09:44
9     that.                                                                 16:09:49
10            Q.     Okay.    And, again, I apologize.   I just             16:09:49
11    want to make sure I have the time line completely                     16:09:52
12    straight.                                                             16:09:54
13                   Had you seen a logo affiliated with any                16:09:55
14    Nazi entity with a white skull on a black background                  16:10:02
15    prior to the creation of the Bored Ape Yacht Club                     16:10:05
16    logo?                                                                 16:10:10
17                   MR. BALL:    Objection.   Asked and answered.          16:10:10
18    Vague.       Assumes facts not in evidence.     Lacks                 16:10:11
19    foundation.       Argumentative.                                      16:10:14
20            A.     Can you repeat the question, please.                   16:10:23
21            Q.     Sure.    Had you seen a logo affiliated in             16:10:24
22    any way with any Nazi entity with a white skull on a                  16:10:30
23    black background prior to the design of the Bored                     16:10:35
24    Ape Yacht Club logo?                                                  16:10:39
25                   MR. BALL:    Objection.   Asked and answered.          16:10:41


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1     Vague.    Assumes facts not in evidence.       Lacks                  16:10:42
2     foundation.     And argumentative.                                    16:10:47
3          A.     I recall having seen a skull logo                         16:10:49
4     associated with Nazis, but I could not give you any                   16:11:01
5     specifics about that logo.       Essentially                          16:11:08
6     indistinguishable to me from any number of -- I                       16:11:12
7     don't -- I had not seen -- I don't recall seeing it                   16:11:18
8     with, like, a white -- a white skull with a black                     16:11:22
9     background.     Put it like that.                                     16:11:25
10         Q.     And in what context do you have that                      16:11:26
11    recollection?                                                         16:11:28
12         A.     I believe I had seen it in films.                         16:11:28
13         Q.     What films?                                               16:11:38
14         A.     Perhaps "Inglorious Bastards."                            16:11:40
15         Q.     Prior to the creation of the Bored Ape                    16:11:46
16    Yacht Club logo, had you seen a logo with a white                     16:11:59
17    skull on a black background on any 4chan post?                        16:12:01
18                MR. BALL:     Objection.   Lacks foundation.              16:12:09
19         A.     No, I don't think so.                                     16:12:10
20         Q.     Prior to the creation of the Bored Ape                    16:12:14
21    Yacht Club logo, had you seen a logo with a white                     16:12:15
22    skull on a black background in any Reddit post?                       16:12:18
23         A.     When I go to the grocery store, I see                     16:12:26
24    logos with white skulls on black backgrounds.          So it          16:12:30
25    is very possible that I have seen white skulls on                     16:12:37


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1     black backgrounds on the internet.                                    16:12:40
2                  For instance, I may have seen pirates                    16:12:43
3     being talked about on Reddit.         I may have seen the             16:12:47
4     popular water or coffee companies referred to on                      16:12:52
5     Reddit.     I may have seen many, many skull logos that               16:12:55
6     have a white skull on a black background.                             16:13:05
7            Q.    And prior to the creation of the Bored Ape               16:13:08
8     Yacht Club logo, had you seen a logo with a white                     16:13:10
9     skull on a black background affiliated in any way                     16:13:12
10    with alt-right entities?                                              16:13:15
11                 MR. BALL:   Objection.     Vague.                        16:13:19
12           A.    No.                                                      16:13:21
13                 MR. BALL:   You can go ahead and put that                16:14:03
14    aside.                                                                16:14:05
15                 MR. TOMPROS:   Yeah, we're done with that                16:14:05
16    one.     Thank you.                                                   16:14:07
17                                                                          16:14:24
18                                                                          16:14:25
19                                                                          16:14:33
20                                                                          16:14:35
21                                                                          16:14:45
22                                                                          16:14:46
23                                                                          16:14:48
24                                                                          16:14:51
25                                                                          16:15:01


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